                                       UNITED STATES DISTRICT COURT

                                         DISTRICT OF MASSACHUSETTS

ANTHONY ROMANO,
           Plaintiff,

        v.                                                CIVIL ACTION
                                                          NO. 22-10471-DPW
HARBOR FREIGHT TOOLS USA, INC.,
           Defendant.



                                              SCHEDULING ORDER

 WOODLOCK, U.S.D.J.

         This Order is intended primarily to aid and assist counsel in scheduling and planning the preparation
 and presentation of cases, thereby insuring the effective, speedy and fair disposition of cases, either by
 settlement or trial.

          The Joint Scheduling Statement [ECF# 12] filed by the parties on May 28, 2022, having been
 reviewed, considered and adopted, it is hereby ORDERED, pursuant to Rule 16(b) of the Federal Rules of
 Civil Procedure and Local Rule 16.1(F), that:

         (1)     Written discovery shall be served no later than August 30, 2022 and all
                 answers/responses shall be served no later than October 31, 2022;

         (2)     All Motions pursuant to Fed. R. Civ. P. 12 ,15, 19 and 20 shall be filed no
                 later than November 30, 2022;

         (3)     fact discovery is to be completed by May 31, 2023, unless shortened or
                 enlarged by Order of this Court;

         (4)     all trial experts are to be designated and disclosure of information
                 contemplated by Fed.R.Civ.P. 26 to be provided by the plaintiff no later
                 than June 30, 2023; and by the defendant no later than July 31, 2023;

         (5)     expert discovery is to be completed by October 30, 2023, unless
                 shortened or enlarged by Order of this Court;

         (6)     dispositive motions are to be filed no later than November 30, 2023, and
                 oppositions are to be filed no later than December 21, 2023, and all filings
                 must conform to the requirements of Local Rule 56.1;

         (7)     By October 13, 2023, the parties shall file a JOINT STATUS REPORT
                 indicating the current status of the case, including discovery proceedings,
                 settlement discussions, pending or contemplated motions, proposed dates for
                 pretrial conferences and for trial, and any other matters which should be
                 addressed at the further conference.

          All provisions and deadlines contained in this order having been established with the participation of the
 parties to this case. Consequently any requests for modification must be presented to the judge or magistrate
 judge, if referred for case management proceedings. No future modifications of this schedule may be
anticipated in the absence of a compelling showing of good cause supported by affidavits, other
evidentiary materials, or reference to pertinent portions of the record. The request shall be made by motion
and shall contain the reasons for the request, a summary of the discovery which remains to be taken, and a
date certain when the requesting party will complete the additional discovery, join other parties, amend the
pleadings or file motions. The Court may then enter a revised scheduling order, if necessary.
        Counsel are encouraged to seek an early resolution of this matter. Additional case management
conferences may be scheduled by the court or upon the request of counsel, if the Court can be of assistance in
resolving preliminary issues or otherwise expediting resolution of this matter.


                                                           By the Court,


DATE: May 31, 2022                                      /s/ Barbara I. Beatty
                                                        Deputy Clerk
